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                                                                          6                              IN THE UNITED STATES DISTRICT COURT
                                                                          7
                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                          9
                                                                         10   PAUL J. SAYRE,
                                                                         11
United States District Court




                                                                                            Plaintiff,                               No. C 19-02247 WHA
                               For the Northern District of California




                                                                         12     v.
                                                                         13   GOOGLE INC.,                                           ORDER DENYING MOTION
                                                                         14                                                          TO RECONSIDER
                                                                                            Defendant.
                                                                         15                                  /

                                                                         16          For the reasons stated in the previous order (Dkt. No. 43) and the fact that plaintiff has
                                                                         17   not shown good cause, the Court DENIES plaintiff’s motion to reconsider the order denying
                                                                         18   plaintiff’s motion to appear by telephone for the case management conference.
                                                                         19
                                                                         20          IT IS SO ORDERED.
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                                                                         22   Dated: July 26, 2019.
                                                                         23                                                       WILLIAM ALSUP
                                                                                                                                  UNITED STATES DISTRICT JUDGE
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